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                               ASSET PURCHASE AND SALE AGREEMENT

THIS ASSET PURCHASE AND SALE AGREEMENT (“Agreement”) is made and entered into
this __ day of January, 2011, by and between PANTOLL PARTNERS, LLC, a California limited
liability company (“Purchaser”), and TSIC, INC. f/k/a SHARPER IMAGE CORPORATION, a
Delaware corporation (“TSIC” or “Seller”). Purchaser and Seller are sometimes collectively
referred to in this Agreement as “Parties” or individually as “Party.”

                                              RECITALS

A.        On February 19, 2008 (the “Commencement Date”), TSIC, Inc. f/k/a SHARPER IMAGE
          CORPORATION filed for bankruptcy relief under chapter 11 of title 11 of the United
          States Code (“Bankruptcy Code”) in the United States Bankruptcy Court for Delaware
          (“Bankruptcy Court”).

B.        Since the Commencement Date, TSIC has discontinued its retail business and,
          essentially, liquidated its major physical assets pursuant to authority granted by the
          Bankruptcy Court. TSIC is now in the process of winding down the administration of the
          estate.

C.        On February 20, 2009, a Second Amended Class Action Complaint entitled In re:
          Payment Card Interchange Fee and Merchant-Discount Antitrust Litigation (Case No.
          1:05-md-01720-JG-JO) (“Litigation”) was filed in the United States District Court for the
          Eastern District of New York (“District Court”). If the plaintiffs in the Litigation are
          successful in certifying a class and either prevail in the Litigation or such Litigation
          results in a settlement (“Settlement Event”), TSIC may be included in the class and,
          accordingly, may be entitled to a monetary recovery (“Asset”). Whether such recovery
          will occur is unknown by Seller and Purchaser at the time of this Agreement. If no
          Settlement Event takes place, the Asset will have no value.

D.        Purchaser is not affiliated with any counsel involved in the Litigation or the District
          Court.

E.        Following a Settlement Event, it is anticipated that the fixed aggregate amount of the
          recovery will be allocated pro rata among claimants to the settlement proceeds, in a
          manner to be described in documents approved by the District Court.

F.        All terms used herein and not defined herein shall have the meanings given such terms in
          the Litigation.

G.        The Parties intend to transfer from Seller to Purchaser any and all of Seller’s right, title
          and interest in and or associated with, or connected in any manner to, any Asset that may
          arise from the Litigation.

H.        Purchaser is in the business of purchasing claims from entities entitled to recover funds
          from both existing class action lawsuit settlements and from pending class action
          litigation that may or may not result in a recovery.

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I.        Purchaser desires to purchase the Asset from Seller and Seller desires to sell the Asset to
          Purchaser as provided for in this Agreement.

          NOW, THEREFORE, in consideration of the mutual covenants, agreements,
          representations and warranties contained herein and other good and valuable
          consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties,
          intending to be legally bound, agree as follows:

SECTION 1 – RECITALS INCORPORATED IN AGREEMENT.

1.1       The above recitals are hereby incorporated herein by reference.

SECTION 2 – TERMS OF PURCHASE AND SALE

2.1.      Sale and Purchase of Asset. On the terms and subject to the conditions and other
          provisions set forth in this Agreement, Purchaser agrees to purchase all right, title and
          interest in the Asset from Seller, and Seller agrees to sell, transfer and assign all right,
          title and interest in the Asset to Purchaser subject to approval of the Bankruptcy Court,
          for the sum of $57,500.00 (“Purchase Price”). Following approval by the Bankruptcy
          Court, the sale shall be final.

2.2.      Payment of Purchase Price. In consideration for the sale of the Asset by Seller to
          Purchaser, in accordance with this Agreement, Purchaser will wire transfer to Seller the
          Purchase Price using wire instructions to be provided by Seller, within 10 business days
          of (i) full execution of this Agreement and (ii) approval of the sale subject to the terms of
          this Agreement by the Bankruptcy Court.

2.3.      Purchase in Good Faith. Seller acknowledges the Purchaser’s requirement that it be
          determined to be a “Purchaser in Good Faith” pursuant to 11 U.S.C. §363(m) in the
          Bankruptcy Court order approving this Agreement.

2.4.      Cooperation of Seller. Seller understands and acknowledges that in order for Purchaser
          to verify and/or collect the Asset, Purchaser may require Seller’s reasonable assistance in
          the event that a claims administrator appointed in the Litigation (the “CA”), Lead
          Counsel or the District Court audits and/or withholds payment on the Asset pending
          verification of data within Seller’s reasonable possession and/or control.

2.5.      Actions by Purchaser. Purchaser expressly reserves the right to take any steps it deems
          reasonable and necessary in order to maximize Purchaser’s recovery in respect of the
          Asset.

2.6.      Ancillary Agreement. In addition to this Agreement, the Parties will enter into the
          following additional agreement: Notice of Assignment.




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2.7.      No Assumption of Obligations or Liabilities. Upon the later of (i) full execution of this
          Agreement and (ii) approval of the sale subject to the terms of this Agreement by the
          Bankruptcy Court, Purchaser shall assume all obligations and liabilities relating to the
          Asset but shall not assume or in any way become liable for any other obligation or
          liability of the Seller independent of the Asset.

SECTION 3 - REPRESENTATIONS AND WARRANTIES OF SELLER

Seller represents and warrants to Purchaser as follows:

3.1.      Organization. Seller is a corporation duly organized, validly existing and in good
          standing under the laws of the state of its organization.

3.2.      Authorization. Seller, subject to Bankruptcy Court approval, has the requisite power and
          authority to own the Asset as currently owned, to execute and deliver this Agreement or
          any Ancillary Agreement, and to perform the transactions contemplated hereby or
          thereby, and that such performance does not constitute a violation of Seller’s certificate
          of incorporation, by-laws or any other valid instrument to which Seller is a party or by
          which Seller may be bound.

3.3.      Due Execution; Validly Binding Agreement. This Agreement has been duly authorized,
          executed and delivered and constitutes a legal, valid and binding obligation of the Seller,
          enforceable against it in accordance with its terms as approved by the Bankruptcy Court.

3.4.      No Litigation. There is no known suit, action, litigation or other proceeding or
          governmental or administrative investigation or inquiry, pending or threatened against
          Seller or concerning the Asset that could prevent or prohibit Seller from selling the Asset
          or from otherwise complying in full with the provisions of this Agreement except for the
          requirement of Bankruptcy Court approval for the sale of the Asset. Subject to
          Bankruptcy Court approval, transfer of the Asset pursuant to this Agreement will not
          breach, violate or otherwise contravene any applicable law, statute, regulation or
          contractual term.

3.5.      Title to Asset; No Liens. Seller has good, valid and marketable title to the Asset and can
          sell the Asset is free and clear of any mortgage, pledge, lien, security interest, claim or
          encumbrance pursuant to section 363(f) of the Bankruptcy Code. Seller has not
          transferred the Asset or any interest therein except to Purchaser hereunder.

3.6.      Information Provided to Purchaser. All information provided to Purchaser by Seller in
          connection with the sale of the Asset, including but not limited to, information on dates
          on which the Seller began accepting Visa and/or MasterCard credit card and/or debit
          transactions, financial information about the Seller’s business (including total United
          States sales) and any other representations actually or potentially concerning the asset is
          true, correct and complete. Seller has made the following Representations or Warranties
          to Purchaser:



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           i.       Seller has not had any communications with the District Court, Lead Counsel or
                    any other entity affiliated with the Litigation regarding the Litigation.

          ii.       Seller warrants that, should a Settlement Event occur, if asked by the District
                    Court, Lead Counsel, the CA or any other entity affiliated with the Litigation,
                    Seller will state that (1) Seller never intended to opt-out of the Litigation; (2)
                    Seller never gave any entity any indication of an intent to opt-out of the
                    Litigation; and (3) Seller never authorized any entity to opt-out of the Litigation
                    on Seller’s behalf.

         iii.       Seller warrants that if requested by Purchaser and if a Settlement Event should
                    occur, it will provide an affidavit stating that (1) Seller never intended to opt-out
                    of the Settlement Event; (2) Seller never gave any entity any indication of an
                    intent to opt-out of the Settlement Event; and (3) Seller never authorized any
                    entity to opt-out of the Settlement Event on Seller’s behalf.

         iv.        Seller warrants that it will never take any position inconsistent with the
                    representations and warranties contained herein.

3.7.      Independent Investigation. Aside from Representations or Warranties contained herein,
          Seller acknowledges that it has conducted its own independent evaluation of the
          transactions contemplated under this Agreement. Seller further acknowledges that it has
          had an opportunity to conduct its own independent investigation regarding the Asset.
          Seller has had an opportunity to review the documents and information available through
          publicly available sources of information.

3.8.      No Reliance. Aside from Representations or Warranties contained herein, Seller has
          conducted an independent evaluation of the reasonableness of the Purchase Price and has
          decided to enter into this Agreement and undertake the transactions contemplated
          hereunder solely in reliance on its own evaluation of the Purchase Price. With the
          exception of any representations and warranties set forth in Section 4 of this Agreement,
          Seller is not relying on (i) any information provided to Seller or written or oral
          representations, whether express or implied, by Purchaser or its respective shareholders,
          officers, directors, employees, agents or affiliates or (ii) any information provided to
          Seller by Purchaser or its respective shareholders, officers, directors, employees, agents
          or affiliates in assessing the reasonableness of the Purchase Price. Seller acknowledges
          that Purchaser expressly disclaims and has not made any warranties, guarantees,
          promises, or representations of any kind whatsoever regarding the value of the Asset and
          the anticipated recovery and/or timing of recovery on the Asset.

3.9.      Information. Seller acknowledges that, because a Settlement Event had not taken place
          prior to the payment of the Purchase Price, the value of the Asset and the final recovery
          on the Asset may not be determined with certainty by Seller or Purchaser as of the time
          of execution of this Agreement. Seller further acknowledges that Purchaser may possess




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          material information not known to Seller and Seller agrees that Purchaser shall have no
          liability with respect to the non-disclosure of any such information.

3.10.     Expectation of Return. Seller acknowledges that Purchaser’s sole intention and
          expectation in entering into this Agreement is to earn a positive financial return on the
          Asset. As such, Seller understands that Purchaser’s recovery on the Asset may exceed
          the Purchase Price.

3.12      Own Advisors. Seller acknowledges that it has had an opportunity to consult with an
          attorney and/or other relevant professional advisors prior to the execution of this
          Agreement. Seller acknowledges that Purchaser has advised it that it should seek such
          counsel.

3.14      No Fiduciary or Confidential Relationship. Seller acknowledges that Seller and
          Purchaser are not in a fiduciary, confidential, agency or otherwise special relationship,
          including one of trust, confidence or privity, and that Seller and Purchaser are each acting
          for its own self interest.

3.15      Claim Form and Amounts. Seller is a potential class member should a class be certified
          in the Litigation and accepted Visa and or MasterCard transactions.

SECTION 4 – REPRESENTATIONS AND WARRANTIES OF PURCHASER

Purchaser represents and warrants to Seller as follows:

4.1.      Organization. Purchaser is a limited liability company, validly existing and in good
          standing under the laws of the State of Delaware.

4.2.      Authorization. Purchaser has the requisite power and authority to purchase the Asset
          from Seller, execute and deliver this Agreement, and to perform the transactions
          contemplated hereby or thereby.

4.3.      Due Execution; Validly Binding. This Agreement has been duly authorized, executed
          and delivered and constitutes a legal, valid and binding obligation of the Purchaser,
          enforceable against it in accordance with its terms, except as may be limited by
          bankruptcy, insolvency, reorganization, moratorium or other similar laws affecting the
          enforcement of creditors’ rights in general and subject to general principles of equity.

4.4.      No Litigation. There is no suit, action, litigation or other proceeding or governmental or
          administrative investigation or inquiry, pending or threatened, against Purchaser that
          could prevent or prohibit Purchaser from purchasing the Asset or from otherwise
          complying in full with the provisions of this Agreement. Transfer of the Asset pursuant to
          this Agreement will not breach, violate or otherwise contravene any applicable law,
          statute, regulation or contractual term.




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4.5.      Purchaser Solvent. That Purchaser is solvent and has the funds available to pay the
          Purchase Price as provided in section 2.2 herein.

4.6.      Disclaimers: No Representations or Warranties. Purchaser expressly disclaims and does
          not make any warranties, guarantees, promises, or representations of any kind whatsoever
          regarding the Asset, including but not limited to: (i) the value of the Asset; and (ii) the
          anticipated recovery or timing of recovery on the Asset. Purchaser has advised Seller
          that it should consult with an attorney and/or other relevant professional advisors prior to
          the execution of this Agreement.

4.7.      Independent Investigation. Aside from Representations or Warranties contained herein,
          Purchaser acknowledges that it has conducted its own independent evaluation of the
          transactions contemplated under this Agreement. Purchaser further acknowledges that it
          has had an opportunity to conduct its own independent investigation regarding the
          Litigation, the possibility of a Settlement Event taking place, and the Asset. Purchaser
          has had an opportunity to review the documents and information available through
          publicly available sources of information.

4.8.      No Reliance. Aside from Representations or Warranties contained herein, Purchaser has
          conducted an independent evaluation of the transactions contemplated under this
          Agreement. Purchaser has decided to enter into this Agreement and undertake the
          transactions contemplated hereunder solely in reliance on its own evaluation, based on
          such information as it has deemed appropriate under the circumstances. With the
          exception of any representations and warranties set forth in Section 3 of this Agreement,
          Purchaser is not relying on (i) any information provided to Purchaser or written or oral
          representations, whether express or implied, by Seller or its agents or affiliates or (ii) any
          information provided to Purchaser by Seller or its agents or affiliates. Purchaser
          acknowledges that Seller expressly disclaims and has not made any warranties,
          guarantees, promises, or representations of any kind whatsoever regarding the Asset,
          including, but not limited to: (i) the value of the Asset; and (ii) the anticipated recovery
          and/or timing of recovery on the Asset.

4.9.      Information. Aside from Representations or Warranties contained herein, Purchaser
          acknowledges that, because a Settlement Event had not taken place prior to the payment
          of the Purchase Price, the value of the Asset and the final recovery on the Asset may not
          be determined with certainty by Seller or Purchaser as of the time of execution of this
          Agreement. Purchaser further acknowledges that Seller may possess material
          information not known to it. Purchaser agrees that Seller shall have no liability with
          respect to the non-disclosure of any such information.

4.10.     Expectation of Return. Purchaser understands that Purchaser’s recovery on the Asset may
          not exceed the Purchase Price.

4.11.     Own Advisors. Purchaser acknowledges that it has had an opportunity to consult with an
          attorney and/or other relevant professional advisors prior to the execution of this



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          Agreement. Purchaser acknowledges that Seller has advised it that it should seek such
          counsel.

4.12.     No Fiduciary or Confidential Relationship. Purchaser acknowledges that Seller and
          Purchaser are not in a fiduciary, confidential, agency or otherwise special relationship,
          including one of trust, confidence or privity, and that Seller and Purchaser are each acting
          for its own self interest.

SECTION 5 - COVENANTS OF SELLER

Seller covenants to Purchaser as follows:

5.1.      Further Assurances. Seller will reasonably provide, duly execute or deliver, or cause to
          be provided, duly executed or delivered, to Purchaser such further information and
          instruments reasonably available to it or under its possession, custody or control and do
          and cause to be done such further acts as may be reasonably necessary or proper to
          respond to any audit or inquiry by the CA, Lead Counsel or the District Court regarding
          the Asset.

5.2.      Waiver of Claims. To the maximum extent permitted by law, Seller will not assert and
          hereby waives any and all claims against Purchaser or any of its shareholders, officers,
          directors, employees, agents or affiliates with respect to this Agreement, any Ancillary
          Agreement or the transactions contemplated hereby or thereby based on any claim that
          Purchaser had superior or additional information material to a decision to sell or buy the
          Asset.

5.3.      Covenant Not To Sue. Seller will not commence or maintain any suit thereon against
          Purchaser or any of its shareholders, officers, directors, employees, agents or affiliates
          with respect to this Agreement, or the transactions contemplated hereby, whether at law
          or in equity, based on any claim that Purchaser had superior or additional information
          material to a decision to sell or buy the Asset.

5.4.      Payment Delivery. If a CA mistakenly sends total or partial payment directly to Seller,
          Seller will immediately endorse such payment to Purchaser and deliver the payment to
          Purchaser by personal delivery or by first class mail, certified, return receipt requested,
          postage prepaid and addressed to:

                    Pantoll Partners, LLC
                    c/o Cascade Settlement Services, LLC
                    100 Shoreline Highway, Suite A-190
                    Mill Valley, CA 94941
                    Attn: John Chilcott




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SECTION 6 - GENERAL

6.1.      Severability. In the event that any provision herein becomes or is declared by a court of
          competent jurisdiction to be illegal, unenforceable or void, this Agreement shall continue
          in full force and effect without said provision.

6.2.      Costs. The Parties shall each pay their own costs and expenses (including attorney’s fees
          and accountants’ fees) incurred or to be incurred in negotiating, preparing and executing
          this Agreement.

6.3.      Entire Agreement. This Agreement represents the entire agreement and understanding
          between the Parties regarding the sale and purchase of the Asset and supersedes any and
          all prior representations, warranties agreements and understandings, whether written or
          oral, concerning the sale and/or purchase of the Asset.

6.4.      No Oral Modification. This Agreement may only be amended in writing signed by both
          Parties.

6.5.      Governing Law. This Agreement shall be governed by and construed in accordance with
          the laws of the State of California, without regard to its conflict of law rules, principles or
          provisions of such state or of any other state.

6.6.      Headings. Section headings are for convenient reference only and will not affect the
          meaning or have any bearing on the interpretation of any provision of this Agreement.

6.7.      Counterparts. This Agreement may be executed in counterparts, and each counterpart
          shall have the same force and effect as an original and shall constitute an effective,
          binding agreement. If so signed the Agreement becomes effective when both signature
          pages are attached.

6.8.      Voluntary Execution of Agreement. This Agreement is executed voluntarily and without
          any duress or undue influence on the part or on behalf of the Parties hereto.

6.9.      References. Seller agrees that Purchaser may disclose Seller’s identity and the Purchase
          Price only to prospective sellers in an effort to promote Purchaser’s business. No other
          disclosures for any other reason are permitted without further written permission from
          Seller.

6.10.     Notices. All notices, requests, demands or any other communication made under,
          pursuant to, or in accordance with this Agreement, except for normal day-to-day business
          communications, which may be made orally or in a writing, shall be in writing and shall
          either be delivered personally or deposited in the United States mail and sent by first-
          class mail, certified, return receipt requested, postage prepaid and properly addressed as
          follows:




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             If to Purchaser:                             If to Seller:

             Pantoll Partners, LLC                        TSIC, Inc.
             c/o Cascade Settlement Services, LLC         PO Box 3508
             100 Shoreline Highway, Suite A-190           Walnut Creek, CA 94598
             Mill Valley, CA 94941                        Attention: Kevin Palmer
             Attn: John Chilcott


          or to such other address(es) as a Party hereto may indicate to the other Party in the
          manner provided for herein. Notices given by mail shall be deemed effective and
          complete forty-eight (48) hours following the time of posting and mailing, and notices
          delivered personally shall be deemed effective and complete at the time of delivery and
          the obtaining of a signed receipt.

IN WITNESS WHEREOF, the Agreement has been executed by the Parties as of the date and
year provided above.

 PANTOLL PARTNERS, LLC                              TSIC, INC. F/K/A SHARPER IMAGE
                                                    CORPORATION



   By: John Chilcott                                By:



   By:                                                By:
   Name: John Chilcott                                Name: Kevin Palmer
   Title: Manager                                     Title: Vice President and Controller




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